Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 1 of 12




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01654-MSK-NRN

   SAUNDERS-VELEZ,

   Plaintiff,

   v.

   COLORADO DEPARTMENT OF CORRECTIONS (CDOC),
   TRAVIS TRANI, in his official capacity as Director of Prisons,
   MIKE ROMERO, in his official capacity as Colorado Territorial Correctional Facility
   Warden, RICK RAEMISCH, in his official capacity as Executive Director of Colorado
   Department of Corrections,
   RYAN LONG, in his official capacity as Denver Reception and Diagnostic Center Warden,
   KELLIE WASKO, in her official capacity as Deputy Executive Director of Colorado
   Department of Corrections,
   DENVER RECEPTION AND DIAGNOSTIC CENTER (DRDC), and
   THE COLORADO TERRITORIAL CORRECTIONAL FACILITY (CTCF),

   Defendants.


                REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
                               TO COMPEL DISCOVERY


           Plaintiff Lindsay Saunders-Velez, through her attorneys, Paula Greisen and Meredith

   Munro of the law firm KING & GREISEN, LLP, and Lynly S. Egyes and Shawn Thomas

   Meerkamper of TRANSGENDER LAW CENTER, respectfully submits her Reply to Defendants’

   Response to the Motion to Compel Discovery as follows:

                                         I.     SUMMARY

           Defendants were served with a subpoena on May 15, 2018 requiring them to produce a

   “complete” copy of Plaintiff’s DOC file. Four months later, Defendants have yet to fully comply




                                                   1
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 2 of 12




   with the subpoena.

                 On July 16, 2018, Plaintiff served Defendants her Second Set of Interrogatories and

   Request for Production Request, as well as with a Rule 30(b)(6) deposition notice. Now, over

   three months later, Defendants have not scheduled any of these depositions, or even informed

   Plaintiff the name of the person(s) responsible for each category. The first time Plaintiff learned

   that Defendants had any objection to the designated category was when Defendants filed their

   response to this motion.

                 Moreover, Defendants failed to timely respond to the Second Set of discovery requests,

   produced a so-called “Response” that is non-responsive in many respects, and failed to provide

   material information. See Defendants’ Response to Plaintiff’s Second Set of Interrogatories (Ex.

   21) and Defendants’ Response to Plaintiff’s Second Set of Request for Production of Documents.

   (Ex. 22) By no means is this issue “moot.”

                 Like most prison cases, much of the evidence in this case is in the possession of the

   Defendants.1 Plaintiff has a parole hearing in January 2019 and has a mandatory discharge date in

   December 2019. As such, it is in Defendants’ interest to continue to delay this case as long as

   possible in order to attempt to render it moot.2 So far they have been very successful in

   achieving this delay. In the interest of justice, Plaintiff requests that this Court immediately

   compel the disclosure of all information requested and forthwith submit its witnesses to

   immediate deposition at a place and location determined by Plaintiff.




                                                               
   1
    Tellingly, Defendants have not served any discovery requests on the Plaintiff.
   2
    In fact, Defendants have not even filed an Answer in this matter, despite that this lawsuit was filed over one year
   ago.


                                                                  2
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 3 of 12




                 A.             Failure to Fully Respond to Plaintiff’s Subpoena.

                 Defendants’ assertion that they did not understand the subpoena to request Plaintiff’s

   “complete” file is belied by the fact that the subpoena itself orders them to produce Plaintiff’s

   “complete” file. See Exhibit 1, Doc. 67-1 (Subpoena states that defendants provide “a copy of the

   complete of the offender file of [Plaintiff]”)3 Regardless, counsel for defendants agreed to

   produce the requested documents on May 25, 2018. Exhibit 6, Doc. 67-6.

                 Plaintiff has also made other formal requests for some of these documents, which have

   still not been answered. For instance,

                 Plaintiff’s Second Set of Request for Production # 5 requested:

                    All documents, including communications between and among Defendants, including
                    those with the members of the Gender Dysphoria Management and Treatment
                    Committee and any reports findings or conferences held by such committee, referring or
                    pertaining to Ms. Saunders-Velez.

                 In response, Defendants’ listed documents Bates 1792-2374. But none of those

   documents relate to decisions made by the Gender Dysphoria Committee (“GDC”). In fact,

   Defendant has not identified any specific record that the GDC has reviewed with respect to the

   Plaintiff’s placement. Instead, Defendants responded inaccurately that the only request that they

   have received from Plaintiff about placement in the female facility occurred in January 2018.

   Defendants’ own records show this is false, and that Plaintiff made this request in May 2017,

   when she was first placed in Defendants’ custody. See Ex. 23, Bates #CDOC/Saunders 00011,

   Entry dated 06/01/2017 (“Met with Saunders on 5/31/17 in response to a letter to the Warden with

   requests based on being transgender. Referred to the Gender Dysphoria Committee to address.”)


                                                               
   3
       Defendants omitted the word “complete” in its description of the subpoena. Doc. # 73, p. 8.


                                                                  3
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 4 of 12




              Although Defendants state in their response that its counsel has a letter regarding a

   determination by the GDC from January 2018 (Doc. 73, p. 9), it has still not been provided to

   Plaintiff or her counsel. In addition, Defendants have not provided any of the investigations

   conducted by the CDOC’s Office of Inspector General (“OIG”) regarding the sexual assaults on

   Plaintiff, her call records, or the numerous kites Plaintiff has submitted regarding her placement

   and care.

              Clearly, Defendants have not made good faith efforts to locate responsive documents and

   have not even produced the responsive documents that have been located. Defendants’ continued

   statements that their counsel will supplement discovery at some future time is too little, too late.

        II.        Failure to Respond to Plaintiff’s First, Second or Third Discovery Requests

              A. Plaintiff’s First Discovery Request for the Identity of Other Witnesses

              This issue was fully briefed in Plaintiff’s prior Motion for Expedited Discovery, Doc. Nos.

   44 and 53. Despite Defendants’ attempt to argue that Plaintiff is seeking private medical

   information protected by HIPPA, this is a red herring. As explained in Plaintiff’s previous

   pleadings, Plaintiff is not seeking medical or mental health information. Defendant is conflating

   the term “gender identity” with the medical diagnosis of “gender dysphoria” – two very different

   concepts. Defendants routinely disclose to the public a person’s gender identity on its online

   “inmate locator”– though they choose to inaccurately represent transgender people’s gender

   identities online. Gender dysphoria, on the other hand, is a medical condition. Although it may

   be true that some transgender individuals have gender dysphoria, that is not true for all. Just as

   some cisgender individuals have depression – some do not. Plaintiff is not seeking any

   information about whether individuals have gender dysphoria. Instead, Plaintiff seeks the identity



                                                        4
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 5 of 12




   of other potential witnesses in this case who have been subjected to the same CDOC policies and

   practices at issue in this case. This evidence is relevant to Plaintiff’s claim to show that in fact,

   certain practices are the well-established practices at CDOC – despite CDOC’s denial to the

   contrary.

                 Although Defendants claim that this request is somehow “burdensome,” they have not

   provided any evidence whatsoever of the nature of the “burden” that would be imposed. Dr.

   Darren Lish, the Chair of CDOC’s Gender Dysphoria Committee, has previously testified that

   there are about 100 individuals in CDOC custody receiving hormone therapy and that he is the

   “point person” for all of them.4 Ex. 24, p. 53, Deposition of Dr. Lish in Radon v. Raemisch.

   Presumably, it would be relatively easy for Defendants to obtain this information directly from

   Dr. Lish.

                 Defendants’ proposal that they be allowed to contact these individuals to determine if they

   want to be disclosed to Plaintiff’s counsel is not a tenable solution. That would be akin to telling

   an employer in a discrimination case that it does not have to disclose the name of employees who

   are potential witnesses, but rather could just disclose the identity of those who have agreed to

   speak to the Plaintiff. Any such arrangement would be extremely intimidating to the potential

   witness and pose an enormous impediment to the pursuit of truth. Given the 42 U.S.C. Section

   1985 allegations in this case that the Plaintiff, as well as other witnesses, are being retaliated

   against for testifying against Defendants, or conversely given favorable treatment for discrediting

   the Plaintiff in this case, it is even more untenable to suggest that Defendants be allowed to

   contact potential witnesses on Plaintiff’s behalf.

                                                               
   4
        Upon information and belief, there are 136 transgender women being held in CDOC’s male facilities.


                                                                  5
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 6 of 12




           Defendants have not offered any credible reason why this information cannot be disclosed

   to Plaintiff’s counsel on an “attorney’s eyes only” basis to allow undersigned counsel to make

   contact with these women to determine if they are witnesses in this case. Defendants have no

   privilege with these women. Defendants know the identity of these women and are free to contact

   them at any time. Undersigned counsel should have the same access to potential witnesses in this

   case.

           B. Defendants’ Failure to Respond to Plaintiff’s Second Set of Discovery

   1. Defendants did not “Respond” to the Second Interrogatory Request

           Defendants claim to have responded to the Second Set of Discovery requests on

   September 10, 2018, the same day Plaintiff filed her Motion to Compel. It is correct that

   sometime that afternoon, Plaintiff received an email from defense counsel purporting to respond

   to these requests. Undersigned counsel had already left the office by the time that email was

   received, and had already prepared the motion and provided it to her paralegal – and it was

   apparently filed a few hours later.

           Regardless, Defendants have not responded to this discovery request. First, as shown on

   Exhibit 21, Defendants only sent undersigned counsel an unsigned “response.” See Ex. 21, p. 20.

   Even assuming that at some point, Defendants will submit an actual response, the “affirmation”

   that appears on this “response” is not in compliance with the Federal Rules of Civil Procedure.

   Specifically, the unsigned affirmation on Defendants’ response states: “I hereby swear or affirm

   that the responses above are true based on the responses provided by the Department of

   Corrections” and has a blank signature line for “Teresa Reynolds.” This affirmation is nothing

   but a statement that these are the response that “Teresa Reynolds” got from the Department of



                                                   6
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 7 of 12




   Corrections – it is not an affirmation as to the truth of the interrogatory responses, as required.

          Fed. R. Civ. P. Rule 26(g) requires parties to certify that after reasonable inquiry, the

   answers are complete and correct. When a party fails to provide the proper certification, the

   Court, on motion or on its own, must impose an appropriate sanction on the party who failed to

   properly certify, including reasonable attorney fees. Fed.R.Civ.P. Rules 26(g)(1)(B) and 26(g)(3).

          At a minimum, the appropriate sanction here is to strike all objections raised by

   Defendants in their responses and require them to fully and accurately respond to the discovery

   request as stated. Given the unnecessary amount of time undersigned counsel has spent pursuing

   this motion, a reasonable attorney fee award is also appropriate.

   2. Responses To Plaintiff’s Second Set of Discovery Requests were Inadequate

        Assuming arguendo that Defendants’ responses are timely, they are deficient in many

   respects. Of course, deficiencies can be addressed during depositions, but part of the purpose of

   serving discovery in advance of depositions is to narrow the disputed issues, determine who needs

   to be deposed, and allow the parties to question deponents in a meaningful manner. For purposes

   of this Reply, Plaintiff addresses the most serious failures in the Defendants’ responses.

          Response to Interrogatory Number 2:

          This interrogatory requests that Defendants “identify all people who participated in

   housing decisions” related to the Plaintiff. Instead of answering this question, Defendants

   routinely qualified their responses by saying those involved in housing decisions “included”

   certain people, or certain people “initiated” or ”authorized” these decisions. See Ex. 21, pps. 2-

   11. Some answers were even more vague – stating “multi-disciplinary staffing was held” and

   “after discussions with all involved parties,” certain housing decisions were made. Id. at p. 3.



                                                      7
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 8 of 12




   Often repeated is the phrase that “housing checks” were made to ensure Plaintiff was housed in

   accordance with CDOC guidelines. These answers are meaningless and provide no guidance as

   to whom should be questioned about the important issue of whether Plaintiff was provided safe

   and secure housing in the CDOC, as relevant to her Eighth Amendment claim.

                 Response to Interrogatory Number 5 and Request for Production of Documents (“RFP”)

   Number 10:

                 Interrogatory number 5 requires Defendants to identify every instance in which a

   transgender woman in CDOC custody has alleged that she has been a victim of sexual assault and

   RFP 10 requests the actual documents regarding the reports/finding by the Office of Inspector

   General (“OIG”) regarding any investigations into these sexual assaults.5

                 In response to the interrogatory, Defendants’ submitted a chart, Ex. 25, Bates

   CDOC/Saunders 000759-760. Defendants did not identify who made this compilation or from

   what information it was derived. Most importantly, however, this information is seriously

   deficient. For instance, Plaintiff has made reports of three different sexual assaults while in

   CDOC custody – and none of them are reported on this chart. See e.g., Ex. 26, Plaintiff’s report

   of rape at CTCF on April 21, 2018, Bates CDOC 000182; Ex. 27, Plaintiff’s medical records re

   report of sexual assault at CTCF on August 15, 2018. Undersigned counsel has been informed by

   other women that they have reported sexual assaults that are not included in this chart.

                 Even more importantly, Defendants did not produce any of the OIG investigation

   documents related these sexual assaults. Instead, Defendants cited to their interrogatory response,

                                                               
   5
     Plaintiff has already offered that Defendants may use an identifier for each person who has
   alleged an assault, so as to protect any privacy interest.
    


                                                                  8
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 9 of 12




   and listed Bates # CDOC 000752. Ex. 28. This document is a 2017 “Supervisor Schedule” and

   does not relate to the request. Even assuming Defendants intended to refer to Ex. 25, that

   response did not answer the production request. Defendants have not only failed to provide the

   OIG reports on these other matters, they even refuse to provide the OIG reports regarding the

   sexual assaults incidents involving the Plaintiff.

          Interestingly, however, Defendants has provided those OIG reports to the media.

   Specifically, an internet media site called “Into” reported that Governor Hickenlooper’s office

   provided the reporter with the investigative reports regarding the first two sexual assaults, finding

   no assaults had occurred. Ex. 29, p.3, August 23, 2018 “Into” Article: “Trans Inmate Raped a

   Third Time After Judge Returns Her to Site of Assault.”([Governor Hickenlooper] furnished a

   nine-page report, detailing an investigation into the first two reported rapes.”)

          Defendants did not state any objection to providing these documents – but just failed to do

   so, presumably relying on their previous responses labeling most of these assaults as “unfounded”

   or “unsubstantial.” But RFP #10 is just that – a request for the documents, not for a compilation

   prepared by some unknown person. Plaintiff requests that Defendants be ordered to immediately

   prepare a complete list of reported assaults and produced all the documents related to any

   investigations into those reported assaults.

          Response to Interrogatory #8:

          This interrogatory requests that Defendants identify and provide the criminal history of

   each person who allegedly sexually assaulted Ms. Saunders. Defendants’ responses only identify

   two of the three perpetrators, and do not provide the criminal history for any of them, as

   requested. Plaintiff request a full and complete answer to this question.



                                                        9
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 10 of 12




          Request for Production #1:

          Defendants were requested to produce all DOC emails and internal documents regarding

   Plaintiff. Instead, Defendants objected, stating that the search they conducted contained too many

   responses and thus was too “burdensome.” Defendants made no attempt to contact undersigned

   counsel to determine possible search terms that could have narrowed the search. Again,

   Defendants’ statement in its response that it will “potentially attempt to conduct a more targeted,

   narrow search” (Ex. 22, p. 2) is just too little, too late. All objections should be deemed waived

   by Defendants’ untimely and nonresponsive answer. Plaintiff requests that Defendants

   immediately produce the entire 25,386 responses to this search – and that they must do so with an

   index of the responsive documents so undersigned counsel’s review of these documents will not

   be delayed.

          C. Defendants’ Failure to Respond to Plaintiff’s Third Set of Discovery Requests

          Plaintiff has asked for the records related to Mario Castillon, a potential witness for Plaintiff

   who has been subjected to retaliation by DOC because of his assistance to Plaintiff in this case.

   Defendants appear to argue that Plaintiff does not have standing to bring such a claim – because

   any retaliation claim would only belong to Mr. Castillon, not Plaintiff. That is not a correct

   statement of law. In fact, a “party” in a lawsuit has standing to bring a Section 1985 claim for

   intimidation of a potential witness. Ex. 30, Spurgeon v. Sedgwick County, 1988 U.S. Dist. LEXIS

   17174, *14, (party has standing to bring claim based on intimidation of potential witness under

   Section 1985) citing Chahal v. Paine Webber Inc., 725 F.2d 20, 24 (2d Cir. 1984).

          Mr. Castillon has given Defendants a signed release for undersigned counsel to receive his

   records and there is absolutely no basis to deny this request.



                                                     10
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 11 of 12




                                            CONCLUSION

          For all the reasons stated above, Plaintiff respectfully requests that this Court deny all of

   Defendants’ objections, require Defendants to produce all requested documents within seven (7)

   days, immediately produce witnesses for depositions at a location to be determined by the

   Plaintiff, immediately file an ANSWER to this matter, and for attorney’s fee and costs deemed

   reasonable by the court.

          DATED this 28th day of September 2018.

                                                 Respectfully submitted,

                                                 s/ Paula Greisen
                                                 Paula Greisen
                                                 Meredith A. Munro
                                                 KING & GREISEN, LLP
                                                 1670 York Street
                                                 Denver, Colorado 80206
                                                 (303) 298-9878 telephone
                                                 greisen@kinggreisen.com
                                                 munro@kinggreisen.com


                                                 Lynly S. Egyes
                                                 Transgender Law Center
                                                 594 Dean Street, Suite 47
                                                 Brooklyn, NY 11238
                                                 (973) 454-6325 telephone
                                                 lynly@transgenderlawcenter.org


                                                 Shawn Thomas Meerkamper
                                                 Transgender Law Center
                                                 P.O. Box 70976
                                                 Oakland, CA 94612
                                                 (510) 587-9696
                                                 lynly@transgenderlawcenter.org
                                                 shawn@transgenderlawcenter.org

                                                 Attorneys for Plaintiff


                                                    11
Case 1:17-cv-01654-MSK-NRN Document 74 Filed 09/28/18 USDC Colorado Page 12 of 12




                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 28th day of September 2018, I electronically filed the foregoing
   REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO COMPEL
   DISCOVERY with the Clerk of the Court using the CM/ECF system which will send notification
   of such filing to the following e-mail addresses:

   Chris W. Alber
   Colorado Department of Law
   Civil Litigation and Employment Law Section
   Ralph L. Carr Colorado Judicial Center
   1300 Broadway, 10th Floor
   Denver, CO 80203
   Chris.Alber@state.co.us

   Counsel for Defendants

                                                 s/Rick VanWie
    




                                                    12
